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                                        UNPUBLISHED

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                        No. 14-4573


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                    v.

        IZELL DELOREAN GRISSETT, JR., a/k/a Buddy,

                          Defendant - Appellant.



        Appeal from the United States District Court for the District of
        South Carolina, at Columbia.    Joseph F. Anderson, Jr., Senior
        District Judge. (3:13-cr-00134-JFA-2)


        Submitted:    March 27, 2015                     Decided:      April 13, 2015


        Before KEENAN and       HARRIS,   Circuit    Judges,   and     DAVIS,   Senior
        Circuit Judge.


        Affirmed by unpublished per curiam opinion.


        David Bruce Betts, Columbia, South Carolina, for Appellant.
        Nancy Chastain Wicker, William Kenneth Witherspoon, Assistant
        United States Attorneys, Columbia, South Carolina, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

              Izell Delorean Grissett, Jr., was charged in five counts of

        a seven-count indictment with:                (1) conspiracy to distribute and

        distribution of 5 kilograms or more of cocaine and 280 grams or

        more of crack cocaine, 21 U.S.C. §§ 841(a)(1), 846 (2012) (Count

        One); (2) Hobbs Act robbery, 18 U.S.C. § 1951 (2012) (Count

        Four); (3) using and carrying a firearm during and in relation

        to a drug trafficking crime and a crime of violence, 18 U.S.C.

        § 924(c) (2012) (Count Five); (4) being a felon in possession of

        a firearm and ammunition, 18 U.S.C. § 922(g) (2012) (Count Six);

        and (5) possession with intent to distribute 500 grams or more

        of   cocaine    and   a    quantity      of     crack      cocaine,      21   U.S.C.    §

        841(a)(1) (2012) (Count Seven).                The jury found Grissett guilty

        on   all   counts;    he   was       sentenced        to   life   plus     ten   years’

        imprisonment.     Grissett noted a timely appeal.

              Counsel   has   filed      a    brief    in     accordance   with       Anders   v.

        California, 386 U.S. 738 (1967), conceding that there are no

        meritorious     issues     for       appeal     but    questioning       whether       the

        district court erred in denying Grissett’s motion for judgment

        of acquittal pursuant to Fed. R. Crim. P. 29.                            Grissett has

        filed a pro se supplemental brief raising two additional issues:

        (1) the district court erred when it issued a modified Allen

        charge to the jury; and (2) the district court erred in applying

        the murder cross-reference at sentencing.

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               This court reviews de novo the district court’s denial of a

        motion for judgment of acquittal.                      United States v. Strayhorn,

        743 F.3d 917, 921 (4th Cir.), cert. denied, 134 S. Ct. 2689

        (2014).        In    assessing       the       sufficiency      of       the    evidence,         we

        determine whether there is substantial evidence to support the

        conviction    when        viewed    in     the      light    most        favorable      to    the

        Government.         Id.         “Substantial        evidence        is    evidence      that       a

        reasonable     finder       of     fact        could       accept        as    adequate       and

        sufficient to support a conclusion of a defendant’s guilt beyond

        a reasonable doubt.”             United States v. Jaensch, 665 F.3d 83, 93

        (4th Cir. 2011) (internal quotation marks omitted).                                 The test is

        whether    “any     rational       trier       of     fact     could      have       found    the

        essential    elements       of     the    crime       beyond    a    reasonable         doubt.”

        United States v. Madrigal-Valadez, 561 F.3d 370, 374 (4th Cir.

        2009) (internal quotation marks omitted).                            An appellate court

        “may   not    weigh       the    evidence        or    review       the       credibility         of

        witnesses. . . . [t]hose functions are reserved for the jury.”

        United    States    v.     Wilson,       118    F.3d    228,    234       (4th      Cir.     1997)

        (internal citation omitted).

               With these standards in mind, we have reviewed the record

        and find that the evidence presented was sufficient to support a

        conviction as to each of the counts with which Grissett was

        charged.      Testimony         established         that     Grissett         was   part     of    a

        long-term cocaine and crack cocaine distribution operation in

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        the    Columbia,       South    Carolina       area.      According         to      witnesses,

        Grissett       and     his    co-conspirator          planned       and    carried         out     a

        robbery of one of their suppliers in June 2010, during which

        Grissett       shot     and    killed     Hector       Carrion.            Based      on        this

        evidence, we find that the district court did not err in denying

        Grissett’s motion for judgment of acquittal.

               Turning to Grissett’s pro se claims, he first argues that

        the district court erred in issuing a modified Allen charge that

        eliminated any mention of the words “minority” or “majority”

        with regard to the jurors’ votes.                      The modification was agreed

        upon by both parties because the jurors had mistakenly indicated

        their split in the votes in their message to the judge.                                          “An

        Allen charge, based on the Supreme Court’s decision in Allen v.

        United       States,     164    U.S.     492       (1896),     is     ‘[a]n       instruction

        advising deadlocked jurors to have deference to each                                    other’s

        views,       that     they    should     listen,      with     a    disposition            to     be

        convinced, to each other’s argument.’”                       United States v. Burgos,

        55    F.3d    933,     935    (4th     Cir.   1995)    (quoting       United        States        v.

        Seeright, 978 F.2d 842, 845 n.* (4th Cir. 1992)).                            We review the

        content of an Allen charge for abuse of discretion.                                        United

        States v. Burgos, 55 F.3d at 935.                       An “Allen charge must not

        coerce the jury, and it must be fair, neutral and balanced.”

        United       States    v.     Cropp,    127    F.3d    354,     359       (4th     Cir.     1997)

        (internal citations omitted).                      We conclude that the district

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        court’s charge was not coercive nor can Grissett show that he

        suffered any prejudice as a result.                       Finally,              Grissett

        challenges         the    application     of       the   murder    cross-reference      at

        sentencing.          The     advisory   Sentencing         Guidelines    provide       that

        “[i]f       a    victim    was   killed        under     circumstances       that   would

        constitute murder under 18 U.S.C. § 1111 had such killing taken

        place within the territorial or maritime jurisdiction of the

        United States, apply § 2A1.1 (First Degree Murder) . . . if the

        resulting offense level is greater than that determined under

        this    guideline.”              U.S.     Sentencing         Guidelines       Manual      §

        2D1.1(d)(1)         (2013).       The     Government        must     prove    the   facts

        underlying a cross-reference by a preponderance of the evidence.

        United States v. Davis, 679 F.3d 177, 182 (4th Cir. 2012).                              We

        find that the testimony established that the killing of Hector

        Carrion constituted first degree murder within the meaning of 18

        U.S.C. § 1111.            Also, because the application of               § 2D1.1(d)(1)

        did    not      increase     Grissett’s    mandatory         minimum    sentence,      his

        reliance on the Supreme Court’s decision in Alleyne v. United

        States, 133 S. Ct. 2151 (2013) is misplaced.

               In       accordance    with   Anders,        we   have     reviewed   the    entire

        record in this case and have found no meritorious issues for

        appeal.         We therefore affirm the district court’s order.                        This

        court requires that counsel inform Grissett, in writing, of the

        right to petition the Supreme Court of the United States for

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        further review.       If Grissett requests that a petition be filed,

        but counsel believes that such a petition would be frivolous,

        then counsel may move in this Court for leave to withdraw from

        representation.       Counsel’s motion must state that a copy thereof

        was served on Grissett.        We dispense with oral argument because

        the facts and legal contentions are adequately presented in the

        materials    before    this   Court   and   argument   would   not   aid     the

        decisional process.

                                                                             AFFIRMED




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